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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION

    ROBERT MAY, as Administrator for the        )   Cause No. 6:09-165
    Estate of Thomas May, and                   )
    CHRISTOPHER HALL, as                        )
    Administrator for the Estate of Bradley     )
    Hall and MATTHEW BENJAMIN                   )
    COOLEY,                                     )
                                                )
                           Plaintiff,           )
                                                )
           v.                                   )
                                                )
    FORD MOTOR COMPANY,                         )
                                                )
                           Defendant.           )

               DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS
            MOTION IN LIMINE TO EXCLUDE EVIDENCE RELATING TO
                 COMPENSATION OF ITS EXPERT WITNESSES


           Defendant Ford Motor Company ("Ford") hereby submits this Memorandum in

    support of its Motion in Limine to exclude financial information related to expert witness

    compensation. As grounds for its motion, Ford states as follows:

           Federal Rule of Evidence 401 defines relevant evidence as evidence having any

    tendency to make the existence of any fact that is of consequence to the determination of

    the action more probable or less probable than it would be without the evidence. Clearly,

    the amount of compensation paid to Ford’s expert witnesses is irrelevant to any fact that

    is of consequence in this litigation.

           Kentucky courts have long held that an expert may be impeached by inquiring

    into whether he is compensated for his or her services.        However, the amount of

    compensation that the expert receives is irrelevant and inadmissible. Reffett v. Hughes,



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    396 S.W.2d 786, 791 (Ky. 1965); Current v. Columbia Gas, 383 S.W.2d 139, 143-44

    (Ky. 1964).

           In Current, supra, Kentucky’s highest court stated:

                           Appellants were permitted to prove that Professor
                   Cook was being compensated by appellee incident to his
                   expert testimony. They urge that they should have been
                   permitted to show the precise rate of compensation. We do
                   not agree. It is true, as conceded by the parties, that it is
                   proper to show that the witness is being compensated.
                   However, we feel that in the absence of unusual
                   circumstances, the better rule is to limit the showing to the
                   fact that payment is being made. To permit details of the
                   compensation injects collateral matters into the trial. It is
                   generally recognized that inquiries of this type rest largely
                   within the discretion of the trial court, and absent a
                   showing of abuse of discretion, the limitation of such
                   questioning will not constitute reversible error. Here there
                   is no showing that the compensation was in any way
                   conditioned upon the outcome of the litigation. There was
                   no abuse of discretion.

    383 S.W.2d at 143-44 (emphasis added). One year later, the court addressed the same

    issue and reached the same holding:

                   Neither was it error for the trial court to deny appellants’
                   effort to have the expert witness, Allen, disclose the
                   amount of compensation to be paid him for his services in
                   this case. The court did permit a showing that the witness
                   was being paid, but denied the effort to show the amount of
                   payment. This was proper. See Current v. Columbia Gas
                   of Kentucky, Ky., 383 S.W.2d 139, 143, 144.

    Reffett, 396 S.W.2d at 791 (emphasis added).

           Since it is improper to introduce the amount of compensation paid to Ford’s

    experts in this case, by the same reasoning it is improper to introduce evidence of

    compensation paid to them by Ford or Ford’s counsel in other cases. Permitting such

    evidence would clearly, “inject collateral matters into the trial.” Current, supra.




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           Accordingly, Ford respectfully requests that the Court exclude any evidence

    relating to the amount of compensation paid to any of its expert witnesses.


                                               FROST BROWN TODD LLC

                                               By: /s/ Kevin C. Schiferl
                                                  Kevin C. Schiferl, #14138-49
                                                  Attorneys for Defendant FORD MOTOR
                                                  COMPANY




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                                      CERTIFICATE OF SERVICE

             I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was

    filed electronically. Notice of this filing will be sent to the following parties by operation

    of the Court’s electronic filing system. Parties may access this filing through the Court’s

    system.

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